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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC.,

                     Plaintiff,
       v.                                              Civil Action No. 1:23-cv-01615
XAVIER BECERRA, U.S. Secretary of Health &
Human Services, et al.

                     Defendants.




                              DECLARATION OF PATRICK T. DAVISH

       I, Patrick T. Davish, declare as follows pursuant to 28 U.S.C. § 1746:

       1.      I am the Associate Vice President of Global Market Access at Merck & Co., Inc.

(“Merck”). I submit this declaration in support of Merck’s Motion for Summary Judgment.

This declaration is based on my personal knowledge.

       2.      I have been employed by Merck for approximately 30 years. In my current

role, I am responsible for, among other things, Merck’s operations relating to the Inflation

Reduction Act’s “Drug Price Negotiation Program.” I report to Avi Benshoshan, who is the

Senior Vice President of Global Market Access.

       3.      I have personal knowledge of the Merck products that will be covered by the

Medicare Drug Price Negotiation Program (the “Program”), the revenues those products

generate, and the investments associated with developing them. I also have personal

knowledge of the structure and operation of the Program under the terms of the Inflation

Reduction Act (“IRA”) and guidance from the Centers for Medicare & Medicaid Services

(“CMS”), an agency within the Department of Health and Human Services (“HHS”).
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                          The Program Will Cover Merck’s Products.

       4.     Merck invests billions of dollars every year to develop new medications and

therapies. Only a small percentage of those potential products ultimately secure FDA

approval and are successfully marketed.

       5.     Merck developed and markets JANUVIA® (sitagliptin) (“Januvia”), a

breakthrough medication used to treat type 2 diabetes.

       6.     Januvia is a dipeptidyl peptidase-4 inhibitor (DPP-4i). It is believed to exert

its actions in patients with type 2 diabetes mellitus by slowing the inactivation of incretin

hormones, which are part of an endogenous system involved in the physiologic regulation

of glucose homeostasis.

       7.     On October 16, 2006, the United States Food and Drug Administration

(“FDA”) first approved Januvia for use as an adjunct to diet and exercise to improve

glycemic control in patients with type 2 diabetes. Januvia was approved both as

monotherapy and in combination with metformin or a thiazolidinedione when diet and

exercise, in combination with Januvia, do not provide adequate glycemic control.

       8.     Januvia was the first DPP-4i approved in the United States, providing an

important new treatment option for patients with type 2 diabetes.

       9.     Merck has been a leader in diabetes clinical research, having conducted more

than 50 sitagliptin Phase 2/3 clinical trials involving more than 40,000 patients with type 2

diabetes. Merck’s research has included focused studies in elderly and pediatric

populations, as well as in patients with pre-existing cardiovascular conditions and chronic

kidney disease. As of June 2023, approximately 500 trials studying Januvia across a wide




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variety of conditions and treatment settings have been recorded in the ClinicalTrial.gov

database.

       10.     Januvia is registered and approved in approximately 130 countries, including

the United States.

       11.     Since 2006, approximately 130 million prescriptions for Januvia have been

filled in the United States.

       12.     Merck obtained multiple patents securing its intellectual property in Januvia,

of which at least one patent remains operative. The FDA first approved Januvia on October

16, 2006. For these reasons, Januvia will be a “qualifying single source drug” under the IRA.

See 42 U.S.C. § 1320f–1(e)(1)(A).

       13.     Based on past and current spending levels within Medicare, Januvia will be

subject to the IRA’s so-called “negotiation” regime in September 2023, when HHS

announces the first set of drugs covered by the Program.

       14.     Merck also developed and markets JANUMET® (sitagliptin and metformin

HCL) (“Janumet”), another medication used to treat type 2 diabetes.

       15.     Janumet combines two antihyperglycemic agents with complementary

mechanisms of action to improve glycemic control in patients with type 2 diabetes:

sitagliptin, a dipeptidyl peptidase-4 inhibitor (DPP-4i), and metformin hydrochloride, a

member of the biguanide class. Sitagliptin is believed to exert its actions in patients with

type 2 diabetes by slowing the inactivation of incretin hormones, which are part of an

endogenous system involved in the physiologic regulation of glucose homeostasis.

Metformin decreases hepatic glucose production, decreases intestinal absorption of




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glucose, and improves insulin sensitivity by increasing peripheral glucose uptake and

utilization.

       16.     On March 30, 2007, the FDA first approved Janumet for use as an adjunct to

diet and exercise to improve glycemic control in adult patients whose type 2 diabetes is not

adequately controlled through the use of metformin or sitagliptin alone, as well as in

patients already being treated with the combination of sitagliptin and metformin.

       17.     Janumet was the first fixed-dose combination of a DPP-4i and metformin in

the United States, providing an added convenience for patients on combination therapy. As

of June 2023, approximately 36 trials studying Janumet have been recorded in the

ClinicalTrial.gov database.

       18.     Janumet is registered and approved approximately 80 countries, including

the United States.

       19.     Since 2007, approximately 39 million prescriptions for Janumet have been

filled in the United States.

       20.     Merck obtained multiple patents securing its intellectual property in

Janumet, of which at least one patent remains operative. The FDA first approved Janumet

on March 30, 2007. For these reasons, Janumet will be a “qualifying single source drug”

under the IRA. See 42 U.S.C. § 1320f–1(e)(1)(A).

       21.     Merck has also developed and markets Janumet XR, a formulation of Janumet

that delivers sitagliptin immediately and metformin over an extended period.

       22.     Merck obtained multiple patents securing its intellectual property in Janumet

XR, of which at least one patent remains operative.

       23.     The FDA first approved Janumet XR on February 2, 2012.


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         24.   Janumet and Janumet XR will be treated as a single product under the IRA

and CMS’s implementation thereof.

         25.   Based on current and expected spending levels within Medicare, Janumet and

Janumet XR will be selected for “negotiation” and forced sales in the Program’s second

cycle.

         26.   Merck also developed and markets KEYTRUDA® (pembrolizumab)

(“Keytruda”), a groundbreaking cancer treatment.

         27.   Keytruda is a monoclonal antibody that binds to the PD-1 receptor and

blocks its interaction with PD-L1 and PD-L2, releasing PD-1 pathway-mediated inhibition

of the immune response, including the anti-tumor immune response. The FDA approved

Keytruda on September 4, 2014, for the treatment of patients with unresectable or

metastatic melanoma and disease progression following ipilimumab and, if BRAF V600

mutation positive, a BRAF inhibitor. Approval for this indication was accelerated based on

tumor response rate and durability of response, and Keytruda received full FDA approval

for this indication, as well as an expanded indication in melanoma, on December 18, 2015.

         28.   As of March 2022, approximately 54,000 patients have been treated with

Keytruda through Merck’s clinical development program, one of the industry’s largest

immuno-oncology clinical research programs. Merck’s research seeks to understand

Keytruda’s role in treating a variety of cancer types, as well as the factors that may predict

a patient’s likelihood of benefitting from treatment with Keytruda. As of June 2023,

approximately 2,000 trials studying Keytruda have been recorded in the ClinicalTrial.gov

database across a wide variety of cancers and treatment settings.




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       29.    As of June 2023, Keytruda is approved in the United States for 35 indications

as for 16 tumor types and 2 that are tumor-agnostic (MSI-H pan tumor and TMB pan

tumor). Keytruda has demonstrated a statistically significant overall survival benefit in 13

different types of cancer.

       30.    As of March 2023, approximately 530,000 patients in the United States have

been treated with Keytruda.

       31.    Merck obtained multiple patents covering Keytruda and innovation related

to Keytruda, of which at least one patent remains operative. The FDA first approved

Keytruda on September 4, 2014. For these reasons, Keytruda will be a “qualifying single

source drug” under the IRA at the relevant time. See 42 U.S.C. § 1320f–1(e)(1)(B).

       32.    Based on current and expected spending levels within Medicare, Keytruda

will be selected for “negotiation” and forced sales in the Program’s third cycle.

             The Program Will Compel Merck To Convey Views That It Rejects

       33.    Once HHS selects these products for the Program, Merck will have 30 days to

“enter into” a “manufacturer agreement” with HHS. 42 U.S.C. § 1320f–2(a). That document,

which HHS will make available to the public, will pronounce Merck’s “agreement” to

participate in the Program’s “negotiations.” It will obligate Merck to accept the product of

those “negotiations”—what the IRA calls the “maximum fair price”—and to sell its drugs at

that price. CMS will implement this requirement through a signed agreement that will set

forth the terms of Merck’s participation in the Program.

       34.    Merck will thus necessarily communicate to the public that it will voluntarily

enter bona fide negotiations with HHS and that those negotiations will culminate in an

agreed-upon price that Merck considers “fair.”


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       35.     Merck rejects every premise behind the IRA’s “manufacturer agreement” and

the messages it forces Merck to communicate.

       36.     First, Merck does not “agree” that HHS’s selection of its drugs will initiate

bona fide price “negotiations.” To the contrary, Merck will be at HHS’s mercy throughout

the process. The IRA sets a price ceiling that is intentionally well below the drug’s market

value. While the IRA allows Merck to submit a “counteroffer” to HHS, HHS is free to ignore

it altogether in its final decision. HHS’s price-setting discretion is just as unrestrained at

the end of the “negotiation” process as it is at the beginning. None of this resembles

anything like the “negotiations” Merck undertakes in the course of its ordinary business.

       37.     Second, Merck rejects the notion, embodied in the “manufacturer agreement,”

that it will voluntarily participate in the Program’s “negotiations” and accept their results.

Merck’s signing of a “manufacturer agreement” and its participation in the “negotiation”

process are coerced through massive penalties. If Merck refuses to “agree” to negotiate, it

must pay an escalating daily “excise tax” that starts at 186% and eventually reaches

1,900% of the drug’s daily revenues from all sources. For Januvia, that would amount to a

tax bill of tens of millions of dollars on the very first day of refusal to enter an “agreement,”

soon escalating to hundreds of millions of dollars per day. As a result, Merck will be forced

to sign a “manufacturer agreement” despite its fundamental opposition to the content,

aims, and messages of that “agreement.”

       38.     Third, Merck rejects the notion, also embodied in the “manufacturer

agreement,” that the price HHS dictates at the end of the “negotiation” process is the

“maximum fair price.” That label communicates a viewpoint that Merck opposes. In

particular, the IRA’s characterization of HHS’s preferred price as the only “fair” price


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contradicts Merck’s strongly held view of the best way to develop and market cutting-edge

pharmaceuticals. Merck knows that its products must be priced to incentivize and support

the incredibly expensive process of researching, developing, and securing FDA approval for

breakthrough products. Insisting on below-market prices is not “fair” to anyone—

including patients who depend on the development of new life-saving drugs.

       39.     After Merck is coerced into signing the “manufacturer agreement” under pain

of massive penalties, the so-called “negotiation” process will begin in earnest. HHS will

issue an “initial offer” bound only by the IRA’s requirement that it represent a discount of

at least 25% to 60% from market value. Merck will then have 30 days to accept HHS’s offer

or submit a counteroffer. But nothing prevents HHS from adhering to the same price

contained in its initial offer.

       40.     The Program’s first round of negotiations “shall end” by August 1, 2024—just

11 months after HHS announces Januvia’s selection. By that date, Merck must submit a

response to HHS’s final offer, either accepting or rejecting it.

       41.     Merck must “accept”—or as the IRA puts it, “agree to”—HHS’s final

“maximum fair price.” See 42 U.S.C. § 1320f–2(a)(1). If Merck does not “agree to” the final

offer that HHS considers “fair,” Merck will face the same indefinite daily penalties it would

incur by failing to enter the initial “manufacturer agreement.” See supra ¶ 37.

       42.     Again, Merck rejects every premise behind this final “agreement” to sell at

the Government’s “fair price” and every message it forces Merck to communicate.

       43.     First, describing this final step as an “agreement” communicates that the

parties have reached a meeting of the minds following a series of good-faith negotiating




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sessions. For the reasons described above, that is wrong: Merck must comply with HHS’s

final decision under threat of draconian financial penalties.

       44.    Second, the very notion of “agreement” to HHS’s price communicates the

message that Merck has acted, and will act, voluntarily. That is false; at every step of the

process, the IRA’s coercive excise tax forces Merck to play along.

       45.    Third, Merck rejects the notion that HHS’s dictated price is “fair.” That

message—which Merck will necessarily communicate by “agreeing” to sell at HHS’s price—

is inimical to everything Merck believes and knows about its industry and products.

       46.    Merck does not wish to serve as a mouthpiece for the Program. But that is

precisely what Merck’s coerced participation in the Program will accomplish. By signing an

initial manufacturer agreement, going through the “negotiation” process, “agreeing” to the

price dictated unilaterally by HHS, and selling its products at that price, Merck will be

forced to communicate messages with which it deeply disagrees.

               The Program Will Compel Forced Sales of Merck’s Products.

       47.    Once the Program’s process is complete, and Merck has been forced to

“agree” to sell its drugs at a massively discounted “fair” price, Merck must provide “access

to such price” to eligible individuals and entities participating in Medicare. 42 U.S.C.

§ 1320f–2(a)(1). Merck cannot afford to do anything else: Failure to sell the product

indefinitely at HHS’s price would trigger civil monetary penalties of ten times the difference

between the price charged and the mandated price, id. § 1320f–6(a), plus an additional

penalty for violation of the negotiated price “agreement,” id. § 1320f–6(c). Those penalties

are too large to permit resistance to HHS’s forced sales.




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          48.   Once HHS compels Merck to sell its drugs at the dictated price, sales must

continue at that price (indexed only based on inflation) until HHS determines that a generic

or biosimilar version of the drug has been approved and marketed, id. § 1320f–1(c)(1), or

the drug is selected for “renegotiation” through the same basic process, id. § 1320f–3(f)(2).

Thus, the Program forces Merck to sell its drugs at a massive discount for an indefinite

period. In concrete terms, Merck will be compelled to transfer its patented products to

others at a fraction of fair market value.

                   Merck’s Participation in the Program Is Not Voluntary.

          49.   The IRA’s Program was not presented to Merck as a voluntary condition on

participation in, or reimbursement through, Medicare or Medicaid. In particular, Merck

had no notice that HHS would impose anything like the Program or its penalties when

Merck entered Medicare Part D. To the contrary, Merck entered Medicare Part D with

explicit congressional reassurance that market forces—not Government-orchestrated

“negotiations”—would determine drug prices under the program. See 42 U.S.C. § 1395w–

111(i).

          50.   The only way for Merck potentially to lift the coercive threat of the IRA’s

excise-tax penalty is to terminate all of its Medicare Part D manufacturer-discount

agreements and Medicaid rebate agreements. See 26 U.S.C. § 5000D(c). But without those

agreements in place, Merck could not receive any payments for drugs reimbursed by

Medicare Part B, Medicare Part D, or Medicaid. Together, those programs constitute nearly

half of the U.S. prescription drug market.

          51.   Merck cannot exit that share of the market, a step that would cost the

company billions in revenue and leave tens of millions of patients without access to their


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medications. Thus, Merck’s decision to remain subject to the Program is not voluntary, but

rather the predictable consequence of overwhelming coercion.

       52.    Proving that the IRA did not offer a genuine choice or condition, Congress

designed the statute to prevent Merck from withdrawing from Medicare in time to avoid

the first round of price mandates. Merck will be compelled to sign an agreement

submitting to forced sales of Januvia by October 1, 2023. But Congress provided that a

manufacturer’s termination of its Medicare Part D agreements is effective only after 11 to

23 months. See 42 U.S.C. § 1395w–114c(b)(4)(B)(ii). Thus, under Congress’ design, to

avoid penalties for failure to sign the October 1 “agreement,” Merck would have needed to

terminate all relevant Medicare and Medicaid contracts by January 31, 2022—months

before the IRA was even enacted. Merck did not, and could not, know to do so.

                  The Program Will Harm Both Merck and the Nation.

       53.    The Program will have devastating effects on Merck’s ability to develop

innovative solutions to patients’ problems and public-health crises. Merck and its peer

companies have made the United States the center of lifesaving pharmaceutical innovation.

Januvia, Janumet (along with Janumet XR), and Keytruda are shining examples of what the

American pharmaceutical sector can accomplish. These drugs improve and extend the

lives of millions of Americans in ways once thought impossible. But Merck’s ability to

develop breakthrough cures and therapies depends on massive investments in numerous

projects, of which just a handful will bear fruit and receive FDA approval. Merck’s

investments in a new drug often run into the billions of dollars. And the risk is enormous:

Only a small percentage of drugs that make it to clinical testing are approved by the FDA,

and only a fraction of approved drugs recoup their development costs.


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       54.    It is therefore vital for Merck to be able to charge market prices for that tiny

subset of drugs that not only succeed, but achieve groundbreaking results. Because the IRA

targets exactly those drugs for unilateral HHS price caps, it will substantially hinder Merck

and its peers as they undertake the expensive and arduous work of innovation.

       55.    The crucial example of cutting-edge cancer research provides a vivid

illustration of the IRA’s devastating consequences. In general, new cancer treatments are

first deployed to combat late-stage metastatic disease. In part, that is because risk–benefit

considerations—essential to regulatory approval—are initially most favorable for patients

facing the worst prognoses. Only after a new treatment proves successful in treating late-

stage cancer will a manufacturer transition its product to earlier stages—where the

possibility of durable remission is greatest. But the IRA’s countdown to selection for price

“negotiations” begins when a drug is initially approved. Thus, by the time a drug proves

itself as a late-stage treatment, opening the door to early-stage trials, the IRA will have

decimated its profitability. In this way, the IRA will significantly impair the efforts of Merck

and its peer companies to invest in promising new therapies that have brought us to the

doorstep of major breakthroughs in the fight against cancer.

       56.    A similar dynamic will plague efforts to secure approval for new uses of

established products. Many pharmaceutical breakthroughs have entered the market

through this route: A drug is approved to treat one condition, but post-approval research

and trials reveal equivalent or perhaps greater benefits as a treatment for a different

disease. Indeed, it is often more cost-effective to pursue new applications of existing

products because the manufacturer will possess extensive evidence regarding the drug’s

pharmacokinetics, toxicology, safety and efficacy, and the like. But the IRA makes post-


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